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                  EXHIBIT F
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                                    SETTLEMENT AGREEMENT
                        CEC et al. v. Garland et al., 22-cv-01004-SRB (D. Ariz.)

I.       INTRODUCTION

        This action arises under the Religious Freedom Restoration Act (“RFRA”), 42 U.S.C. §§ 2000bb
et seq. and the Freedom of Information Act (“FOIA”), 5 U.S.C. § 522(a)(4)(B). This Settlement
Agreement and Release (“Agreement”), effective as of the last date of execution below (“Effective Date”),
is made by and between Plaintiffs—Church of the Eagle and the Condor (“CEC”), Joseph Tafur, Belinda
Eriacho, Kewal Wright, Benjaman Sullivan, and Joseph Bellus—and Defendants—Merrick Garland, in
his official capacity as Attorney General of the United States, Alejandro Mayorkas, in his official capacity
as Secretary of Homeland Security, Anne Milgram, in her official capacity as Administrator of the U.S.
Drug Enforcement Administration (“DEA”), and Troy Miller, in his official capacity as Acting
Commissioner of U.S. Customs and Border Protection (“CBP”) (together the “Government”)—in Case
No. 22-cv-1004-SRB (D. Ariz.). Plaintiffs and Defendants hereinafter are referred to collectively as the
“Parties.”

II.      RECITALS

       Plaintiff CEC seeks to import, manufacture, distribute, and possess ayahuasca1 for use in religious
ceremonies. Ayahuasca contains dimethyltryptamine (“DMT”), a Schedule I controlled substance under
the Controlled Substances Act (“CSA”), 21 U.S.C. §§ 801 et seq. The CSA and its regulations are enforced
by DEA. CBP enforces certain federal laws and regulations related to the importation of controlled
substances at the U.S. border.

        The Parties have expended effort and resources in investigating and evaluating the allegations set
forth in CEC’s complaint, including initial discovery.

        The Parties, through their authorized representatives, and without either adjudication of CEC’s
allegations and claims or admission by the Government of any alleged violation or wrongdoing, now wish
to resolve and settle all disputes, obligations, and purported or actual claims or causes of action, which
may exist by and between CEC and the Government, including without limitation, any disputes,
obligations, claims, and/or causes of action that were or could have been asserted in or pursuant to RFRA
or FOIA.

        The Parties agree it is in their mutual interest to enter into this Settlement Agreement
(“Agreement”). By entering into this Agreement, the parties do not intend to compromise their positions
on the disputed issues or to make any concessions with respect to any of the disputed issues. Nothing in
this Agreement shall be construed as an admission or concession as to any of the disputed issues in this
action.

        NOW, THEREFORE, in consideration of the execution of this Settlement Agreement and the
releases, satisfactions, and promises made herein, it is hereby agreed upon by the Parties as follows:

1
 For purposes of this Agreement, the term “ayahuasca” is defined as a traditional Amazonian decoction
with psychoactive properties made from the vine of the Banisteriopsis caapi and leaves of the Psychotria
viridis bush. As relevant to this Agreement, ayahuasca can take the form of a concentrated paste or a
drinkable tea.
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III.   GENERAL PROVISIONS

1.      This Agreement shall not be construed to bar the U.S. Government, or any of its agents or agencies,
departments, components, or other subparts, from exercising any of its law enforcement authority to
ensure that Plaintiffs’ activities fully comply with U.S. law, except to the extent specifically provided in
this Agreement. Subject to the terms and conditions set forth in this Agreement, Defendants, their
agencies, agents, employees, and those persons under their control will not apply or enforce against the
Plaintiffs, the CSA or its implementing regulations governing the legal importation, manufacture,
distribution, transportation, religious use, and possession of DMT, a Schedule I substance. Nothing in
this Agreement shall restrict or limit CBP’s lawful authority to inspect, sample, seize, detain, or take any
other action with regard to Plaintiffs’ ayahuasca, once CBP determines that such activities should be
undertaken in compliance with this Agreement, for a reason other than the fact that a properly registered
shipment of ayahuasca contains DMT, a Schedule I controlled substance.

2.     CEC will import ayahuasca in concentrated paste form or in liquid form. Upon receipt, CEC will
combine the ayahuasca paste with water to manufacture ayahuasca tea for sacramental uses. CEC will
receive the imported ayahuasca and conduct all manufacturing activities at the following address: 1220 E.
Medlock Drive, #210, Phoenix, AZ 85014.

3.      This Agreement permits CEC to import, receive, manufacture, distribute, transport, securely store,
and dispose of ayahuasca solely for CEC’s religious purposes. CEC may not conduct any of these activities
for non-religious purposes, including but not limited to recreational purposes. CEC may not use any DEA
registrations subject to this Agreement to import, receive, manufacture, distribute, store, or use any other
controlled substance.

4.     DEA will waive as to CEC all fees otherwise required under its regulations implementing the CSA.

5.       As set forth below, CEC will account for the ayahuasca paste and liquid they import into the U.S.
until its ultimate use or disposal and will cooperate with DEA’s verification efforts and procedures, as
described below.

6.     As set forth below, CEC will account for the ayahuasca tea they manufacture in the U.S. until its
ultimate use or disposal and will cooperate with DEA’s verification efforts and procedures, as described
below.

7.      CEC, through its designated ayahuasqueros, currently Plaintiffs Joseph Tafur and Benjaman
Sullivan, will be responsible for the importation, receipt, secured storage, manufacture, distribution,
disposal, and all applicable record keeping requirements of the ayahuasca as set forth in this Agreement.
CEC will comply with any applicable DEA notification requirement relating to new ayahuasqueros who
are designated in the future as set out by CEC’s bylaws.

8.     The amount of ayahuasca tea to be manufactured for each individual ceremony will be based on
the number of ceremony participants. Participants gather regularly as designated by CEC. Ceremonies
will be held in private residences of CEC members or other locations as determined by CEC that can
ensure security of the ayahuasca and the safety of the participants. CEC ayahuasqueros will personally
transport the approximate amount of ayahuasca tea needed for each ceremony.



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9.      CEC requires, and will continue to require, ceremony participants to undergo a health screening
for issues that could preclude participation, and shall provide participants with information related to
potential health issues that could be adversely affected by participation. All ceremonies will have the
presence of one person trained in basic first aid and capable of responding in an emergency. CEC shall
maintain medical emergency protocols to respond to any medical needs of participants.

10.     DEA has agreed to grant CEC an importer registration for the importation of ayahuasca and a
manufacturer bulk registration for ayahuasca tea, with the following listed exemptions from certain
registration, security, and record keeping requirements under the CSA and its implementing regulations,
provided that CEC agrees to the terms within this Agreement. DEA will provide CEC with the Certificates
of Registration (COR) and COR numbers after the execution of this agreement and prior to the filing of
the Notice of Settlement with the Court.

     A. Issuance and Renewal of DEA Registration(s)

11.    The registered location of CEC will maintain the DEA registration(s) applicable to the authorized
handling of the Schedule I controlled substance DMT for religious purposes.

12.     CEC will be authorized through its importer DEA registration to import ayahuasca paste or liquid,
which contains the Schedule I controlled substance DMT as described in 21 C.F.R. §§ 1312.11 - 1312.19,
with distribution as a coincident activity allowed as described in § 1301.13(e)(1)(viii).

13.     CEC will advise the local DEA Field Office whenever there is a change with the country of initial
exportation or with its consignor shipping the ayahuasca paste or liquid to CEC through its import DEA
registration. CEC will further advise the local DEA Field Office if there is a change in the form in which
it imports ayahuasca.

14.     CEC will be issued a bulk manufacturer DEA registration for the receipt of the ayahuasca paste or
liquid from CEC’s importer DEA registration and for the manufacturing processes authorized under the
terms of this Agreement, with distribution allowed as a coincident activity of both importing and
manufacturing, as described in 21 C.F.R. § 1301.13(e)(1)(i) and 21 C.F.R. § 1301.13(e)(1)(viii).

15.     CEC will not be required to obtain a separate distributor DEA registration for distribution
activities, including distributing ayahuasca tea for sacramental use at the specific ceremonial location(s)
benefiting from that exemption, provided that CEC abides by the security requirements allowed under the
terms of its registrations and this Agreement. The CEC must notify and seek approval from DEA for any
further distribution as coincident activities other than those set forth in this Agreement.

16.     Except as set forth in this Agreement, CEC will submit DEA application(s) for registration(s) for
each physical location where the ayahuasca will be imported, stored, manufactured, and distributed. CEC
acknowledges that, as registrants, they must apply to modify their registration before a physical location
changes. See 21 C.F.R. § 1301.51. CEC will also notify the local DEA Field Office of any change in
location incidental to the distribution of ayahuasca as a coincident activity of a registration.

17.   As part of this Agreement, CEC is not required to file an application with the DEA’s “Guidance
Regarding Petitions for Religious Exemption from the Controlled Substance Act Pursuant to the Religious
Freedom Restoration Act.”

18.   In applying for a DEA registration and filling out DEA Form 225, pursuant to 21 C.F.R. §
1301.13(i), CEC may consider the word “business” on the relevant DEA application form to mean

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“activities of a religious entity” involving controlled substances if the activities have been specified as
such in the petition, or it is known at the signing of this Agreement that the connected application pertains
to the import or manufacture and distribution of ayahuasca only for religious purposes.

19.      Whenever the DEA application form asks for information pertaining to any “officer, partner,
stockholder or proprietor,” CEC shall supply all names of its officers, as specified in the records of the
state in which CEC is incorporated at the time of the application for registration.

20.    If the import or bulk manufacture registration is set to expire, and CEC has timely submitted a
renewal application that is still being processed by the DEA, CEC is allowed to continue to operate on a
day-by-day basis until the registration is renewed in accordance with 21 C.F.R. § 1301.36(i), subject to
the provisions of this Agreement.

21.    DEA, upon receipt of a complete DEA application, will conduct the initial on-site inspection of
each new location for which CEC seeks a DEA registration as soon as practicable. DEA will not deny
CEC’s application(s) for DEA registration, renewal of registration(s), or import permits solely on the
ground that the sacramental use of ayahuasca constitutes a basis for denial. The Defendants agree not to
enforce the provisions of 21 C.F.R. §§ 1301.34(a), (b)(6), (d), (e), (f), 1301.35(b), Part 1303, and 21 C.F.R.
§§ 1304.33 and 1312.13(a) against CEC for the sacramental use of ayahuasca, so long as CEC remains a
DEA registrant.

22.    If DEA makes, pursuant to 21 C.F.R. § 1301.15, a reasonable request for additional information
that DEA needs to process CEC’s DEA application(s), CEC will provide such information. Any dispute
regarding requests for additional information will be handled pursuant to the dispute resolution provisions
described in this Agreement.

23.     DEA will issue registration(s) for which CEC has applied within sixty (60) calendar days after
receipt of a complete DEA application for registration unless justified by exceptional circumstances.

24.    Except as otherwise authorized by law, DEA shall not publish and will not voluntarily disclose the
address of any registered location where CEC as registrant handles ayahuasca. DEA shall not publish any
notice in the Federal Register concerning any application by CEC for registration as importer or
manufacturer of a Schedule I controlled substance. DEA shall ensure that no registered location of CEC
appears in the National Technical Information Service (NTIS) database.

     B. Denial, Suspension, Or Revocation of Registration(s)

25.    Consistent with this Agreement and under existing authority, DEA may seek to deny, suspend, or
revoke the registration by serving upon CEC an order to show cause pursuant to 21 C.F.R. § 1301.37, and,
if requested by the registrant, by holding a hearing pursuant to 21 C.F.R. § 1301.41 before an
Administrative Law Judge. In the event of an imminent danger to the public health or safety, DEA may
suspend the registration without prior notice and seek administrative action by issuing an Immediate
Suspension Order (ISO) pursuant to 21 U.S.C. § 824(d). Nothing in this Settlement Agreement shall be
construed as a waiver by Plaintiffs of any of their rights including, without limitation, their rights under
RFRA, the First Amendment, and principles of equal protection.

     C. Importation of the Ayahuasca

26.    CEC’s registered location will maintain a DEA registration to import ayahuasca, which contains
the Schedule I controlled substance DMT, in accordance with 21 C.F.R. §§ 1312.11 - 1312.19, with

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distribution to CEC’s manufacturer/bulk manufacturer DEA registration allowed as a coincident activity,
as described in 1301.13(e)(1)(viii).

27.     To facilitate Defendants’ efforts to coordinate shipments, Plaintiffs have advised DEA that CEC
will import ayahuasca as a concentrated paste or liquid from Peru to CEC’s registered address in the U.S.
through a common international carrier utilizing a tracking number. CEC initially anticipates importing
up to 25 kg of ayahuasca paste per year. CEC anticipates this will be divided into several shipments of
approximately 2kg to 4kg of ayahuasca paste. CEC expects to import from Ricardo Amaringo or his
authorized agents, who prepare the ayahuasca and assists in the shipping process from Peru to the United
States. The quantity of imported ayahuasca for Plaintiffs’ religious use shall not be limited. However,
CEC must notify DEA of any increase in the amount of ayahuasca it plans to import to meet its anticipated
legitimate needs.

28.     Unless otherwise altered by future DEA registrations or required notifications, Plaintiff Tafur
(currently the CEC Point of Contact) is the only individual authorized to receive imported ayahuasca paste
or liquid at CEC’s registered importer location and will be listed as the importer of record or consignee
on all shipments. CEC will be responsible for notifying DEA of any change in or additional CEC points
of contact and for all record keeping related to the importation of ayahuasca paste and will log in the
receipt of each shipment with date, time, weight, and notes regarding its quality. Each shipment will
receive a batch number starting with the number one (1) for the first shipment, and sequentially thereafter.

29.     CEC will submit an application as described in 21 C.F.R. § 1312.12(a) for a permit to import
controlled substances on DEA Form 357 for each shipment of ayahuasca paste or liquid to be imported.
DEA will not require CEC to specify in the DEA-357 the amount of the controlled substance DMT
contained in each consignment, as described in 21 C.F.R. § 1312.12(b)(8). The amount of ayahuasca paste
to be imported may be stated in kilograms, and the amount of liquid may be stated in liters.

30.     DEA will issue a single import permit for each shipment of ayahuasca paste (see 21 C.F.R.
§ 1312.13(e)), and such issuance should occur within thirty (30) days of receipt of a complete DEA
application, unless justified by exceptional circumstances. An import permit will be void and of no effect
after the expiration date specified therein, and in no event will the date be more than 180 calendar days
after the date the permit is issued. An importer may request through the DEA Diversion Control Division
secure network application that an import permit or permit application be amended or canceled, and
request a new permit. See 21 C.F.R. § 1312.16.

31.     CEC, as an authorized importer, must furnish an official record of the declaration (available
through the DEA Diversion Control Division secure network application after the Administration issues
a transaction identification number) to the foreign shipper. CEC agrees to submit an official record of the
declaration and/or required data concerning the import transaction to a customs officer at the port of entry
in compliance with all import control requirements of agencies with import control authorities under the
Act or statutory authority other than the Controlled Substances Import and Export Act. An official record
of the declaration shall accompany the shipment to its final destination, which must only be the registered
location of the importer (i.e., drop shipments are prohibited). See 21 C.F.R. § 1312.19.

32.     Plaintiffs shall provide at least 72 hours of advance notice to the DEA Import/Export Section
Point of Contact (defined in paragraph 78 below) of the identity of the courier and the tracking number of
shipment. Plaintiffs shall promptly advise the DEA Point of Contact of any changes in the itinerary. DEA
will reasonably coordinate with CBP in an effort to facilitate processing and clearance of shipments
through the U.S. port of entry.

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33.     To facilitate Defendants’ efforts to coordinate shipments, Plaintiffs have advised DEA that they
intend to import CEC’s sacrament through ports of entry in Los Angeles, Miami, Houston, and Atlanta.
Plaintiffs’ Point of Contact (currently Joseph Tafur), will inform DEA’s Point of Contact of any changes
in the ports of entry at least 45 days in advance of changing the port of entry in order to facilitate processing
and clearance of shipments. If, through external circumstances beyond the parties’ control, CEC’s
shipment enters through a different port of entry than those specified herein, neither party shall be
considered in breach of this agreement.

34.     To facilitate the movement of shipments, Plaintiffs will ensure that their authorized couriers carry
with them copies of the appropriate DEA Certificate of Registration (COR) (DEA Form 223), together
with a copy of the import permit (DEA Form 357) authorizing the particular shipment. The original COR
must remain at the CEC registered location at all times.

35.     If there are changes to the source of supply and means by which the ayahuasca will be imported
to the U.S. and delivered to its final destination (i.e., foreign shipper, couriers or contract carriers), CEC
shall promptly advise the local DEA Field Office of these changes and update any related information that
may be required on DEA Form 357 for in-process and future import(s). DEA will reasonably work with
CEC to facilitate processing and clearance of shipments through the U.S. port of entry.

36.     Each imported batch and container shall remain sealed and unopened from its arrival at a U.S. port
of entry until its receipt at the registered import location. CEC shall take reasonable steps to ensure that
the seal is tamper-resistant and tamper-evident.

37.     In the event that a shipment of ayahuasca paste or liquid has been denied release by a customs
officer at the U.S. port of entry for any reason, CEC must report as described in 21 C.F.R. § 1312.12(e),
within five (5) business days of the denial, that the shipment was denied and the reason for denial.

38.     Notwithstanding 21 C.F.R. § 1312.15, if a consignment of ayahuasca is detained by CBP because
the amount consigned is significantly greater than the amount authorized by the import permit, DEA will
work with CEC to remedy the discrepancy through the issuance of an amended import permit to facilitate
the prompt clearance by CBP of the shipment upon CEC’s provision to DEA of a satisfactory non-
diversionary explanation as to the discrepancy. Such shipments may be detained by CBP pending a
satisfactory, non-diversionary explanation by CEC as to the discrepancy. Non-compliant shipments for
which no explanation is provided are subject to seizure. Plaintiffs have explained that the consigned
volume of ayahuasca in liquid form may be as much as 5% greater than or less than the volume specified
in the permit due to (1) the thermal contraction of ayahuasca, which is packaged at high temperatures but
arrives at Port of Entry at ambient temperatures over which Plaintiffs have no control and (2) there are
variable rates of precipitation of inactive dissolved solids at the bottom of containers of ayahuasca.

39.    All goods, conveyances, and persons are subject to search upon entry into the U.S. from a foreign
country upon the demand of any CBP official. See 19 U.S.C. §§ 482, 1433, 1459, 1461, 1582; 8 U.S.C.
§ 1357; 19 C.F.R. Part 162; 8 C.F.R. Part 235.

40.     DEA reserves the right to spot sample any consignment of imported ayahuasca once it has arrived
at the registered location for the purpose of confirming that the consignment is in fact ayahuasca which
contains no controlled substance other than DMT.

          a. DEA will notify CEC of DEA’s intent to obtain a sample, which shall be taken when a sealed
             container, which, per above, is secured with a tamper-resistant and tamper-evident seal, is
             received by the registered importer at the registered location.

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         b. When requested by DEA to do so, CEC’s authorized individual will extract a reasonable
            amount of unadulterated sample of ayahuasca under the observation of DEA personnel. The
            authorized individual will place the sample in a container, to be provided by DEA, which
            will be shipped directly to a DEA forensics laboratory for testing.

         c. DEA will not return fully used portions of the sample to CEC. Storage and/or disposal of
            fully used samples will be solely within the discretion of DEA.

     D. Manufacture of the Ayahuasca

41.   Manufacturing processes include but are not limited to the production of ayahuasca batches for
ceremonial use, and any related repackaging and relabeling of ayahuasca in containers.

42.    CEC must account for the amount of imported ayahuasca liquid or ayahuasca paste containing the
Schedule I controlled substance DMT being used to manufacture ayahuasca tea. To account for the amount
of ayahuasca liquid or ayahuasca paste used in the manufacturing of ayahuasca tea, CEC must use DEA
Form 222 (U.S. Official Order Forms – Schedules I and II), in accordance with and as required by the
provisions under 21 C.F.R. Part 1305. The order forms will be completed as follows:

         a. CEC, on behalf of the manufacturer DEA registration (referred in the DEA Form 222 as the
            Purchaser) shall prepare and execute a DEA Form 222, make a copy of the original DEA
            Form 222 for its records and then submit the original for the importer DEA registration’s
            records. The copy retained within the manufacturer registration’s records may be in paper or
            electronic form.

         b. CEC, on behalf of the importer DEA registration (referred in the DEA Form 222 as the
            Supplier) shall complete its portion of the order form in accordance with 21 C.F.R. Part 1305,
            fill the order for the manufacturer registration which ordered the ayahuasca and retain the
            original DEA Form 222 for the supplier's files in accordance with 21 C.F.R. § 1305.17(c).
            The importer registration shall, in accordance with 21 C.F.R. § 1305.13(d), simultaneously
            make and submit a copy of the original DEA Form 222 to DEA at the close of the month
            during which the order is filled, either by mail to the Registration Section, or by email to
            DEA.Orderforms@usdoj.gov.

         c. CEC, on behalf of the manufacturer DEA registration must, at the receipt of the ayahuasca,
            record on its copy of the DEA Form 222 the number of commercial or bulk containers
            furnished on each item and the dates on which the containers are received by the purchaser
            (manufacturer registration). All executed DEA 222 order forms will be kept at the registered
            location for a minimum of two years. The distribution of manufactured ayahuasca, as an
            authorized coincident activity of the manufacturer DEA registration pursuant to 21 C.F.R.
            § 1301.13(e)(1)(i), will not require the use of DEA Forms 222 since DEA agrees in this
            Settlement Agreement to exempt CEC from separately registering with DEA as a distributor
            for the distribution of sacramental ayahuasca.


43.    If a bulk manufacturing registration is granted to CEC, Plaintiffs Joseph Tafur and Benjaman
Sullivan, the two currently authorized ayahuasqueros at CEC, are the only individuals authorized to
manufacture under that registration and they are only authorized to manufacture at CEC’s registered
address. The CEC will notify the DEA of any additional or subsequent authorized ayahuasqueros. CEC


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will log the date, time, and weight of the ayahuasca paste, or volume of the ayahuasca liquid that is
removed from the storage refrigerator for manufacturing purposes.

44.     The ayahuasquero(s) will prepare the ayahuasca tea for ceremonial use according to CEC’s
practices by adding hot water to the ayahuasca paste. This process will occur under the constant
supervision of at least one ayahuasquero. Plaintiffs estimate the amount of ayahuasca tea needed per
ceremony to be about 30 to 45 ml on average per participant. After preparing the ceremonial tea, the
ayahuasquero will note the resulting amount of liquid in milliliters, and transfer it to a secure bottle.
The log will record the volume in milliliters, the time and date produced, and any notes about quality.

45.      If in liquid form, in the event it becomes necessary to decant stored ayahuasca, clear off mold
and any harmful contaminants or impurities, or boil the ayahuasca to render the ayahuasca suitable for
use, CEC shall measure the volume of ayahuasca before and after boiling and maintain a written record
of all such processing of ayahuasca, memorializing any incidental change of volume.

46.     If ayahuasca originating from one batch is mixed with ayahuasca originating from a different
batch, the resulting mix shall be stored in containers labeled with the unique identifiers of any and all
originating batches and the precise volume taken from each. If ayahuasca must be boiled again, some
loss of volume may occur due to evaporation; hence, a written record of the total volume after boiling
should also be recorded for accuracy of records.

47.     All manufacturing activities, including processing, packaging, and labeling, shall be conducted
at the location registered for said activities by an authorized person. All ayahuasca being processed,
packaged, or labeled, shall be securely locked at the end of the activity [21 C.F.R. § 1301.73].

48.     This Agreement only grants CEC the authorization to manufacture ayahuasca from the
concentrated ayahuasca paste or liquid that it has imported. If Plaintiffs decide to manufacture
ayahuasca from plants grown in the United States, Plaintiffs will apply to DEA for registration as a
bulk manufacturer. Plaintiffs will determine the amount of ayahuasca to be imported or manufactured
solely for their religious use.

49.    CEC must advise the local DEA Field Office of any intended changes to its manufacturing
processes that are inconsistent with this Settlement Agreement.

     E. Distribution of the Ayahuasca

50.     DEA agrees to exempt CEC from separately registering with DEA as a distributor. DEA considers
the transportation and distribution of sacramental ayahuasca tea at CEC’s ceremonial location(s) to be a
coincident activity of the DEA manufacturer registration, as described in 21 C.F.R. § 1301.13(e)(1)(i).
This incidental transportation and distribution are permitted solely for the CEC’s religious exercise under
RFRA. Consequently, CEC’s ceremonial location(s) in the State in which it is registered to manufacture
ayahuasca under RFRA do not need a separate DEA registration as long as CEC does not store or
manufacture ayahuasca at the ceremonial location(s).

51.     Plaintiffs Tafur and Sullivan, are the only individuals currently authorized to transport the
ceremonial tea to the designated ceremony site(s). The ceremony locations will be at the residence of
members of CEC or at other locations determined to ensure the security of the ayahuasca and the safety
of participants, and such locations shall be determined by CEC. CEC accepts sole responsibility for
compliance with all applicable federal, state, and local laws in determining ceremony locations.


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52.     CEC may designate any individual(s) of its choice to handle ayahuasca tea when conducting
religious ceremonies and performing religious functions. CEC’s protocols require, and CEC will continue
to require, ceremony participants consuming ayahuasca tea to undergo a health screening. CEC has
developed an Emergency Response Plan in case of any medical or psychiatric needs. All ceremonies will
have the presence of one person trained in basic first aid and capable of responding in an emergency. CEC
will mitigate risks of ceremony participants leaving the premises while under the influence of ayahuasca.

53.     For transportation and distribution incidental to the manufacture of ayahuasca for religious
ceremonies, DEA agrees not to enforce the DEA regulations applicable to distributors, except as provided
by this Agreement. CEC will maintain records of the dates of each delivery or distribution event, the form
of the controlled substance (liquid, paste, etc.), the approximate number of persons provided with
ayahuasca doses, and the approximate amount of controlled substances (ounces, pounds, liters, gallons,
etc.) delivered or distributed at each ceremony or other event where the ayahuasca will be utilized for
religious purposes. CEC’s authorized staff/members will provide to the DEA the initials of the
ayahuasquero(s) who provided the ayahuasca to participants of the ceremony. CEC’s records will also
identify the ayahuasca manufactured batch(es) and container(s) from which the consumed ayahuasca is
taken. CEC shall not be required to report the names or addresses of individual members or non-member
ceremonial participants.

      F. Quota

54.     To adhere to its quota obligations and the requirements set forth under the Single Convention on
Narcotic Drugs, DEA may account for the total amount of the controlled substance, exempted under
RFRA, authorized to be imported and/or manufactured by CEC to meet all anticipated legitimate needs.
In any quota proceeding, DEA will not seek to limit the quantity of ayahuasca necessary for Plaintiffs’
religious use.

      G. Inspection

55.      DEA may inspect any location that CEC seeks to register as an import or manufacture location.
See 21 C.F.R. § 1301.31. CEC agrees to cooperate with any such lawful inspections, and the inspection
of the proposed registered location should be limited to the area used to handle all activities related to the
importation or manufacture of ayahuasca. DEA agrees to avoid any burden to ayahuasqueros, and not to
extend to or seek inspection of, other areas of the property as long as CEC restricts any movement of
ayahuasca to those designated areas.

56.      DEA has the authority to enter registered premises and conduct administrative inspections and
audits thereof at reasonable times and in a reasonable manner. See 21 C.F.R. § 1316.03. If representatives
of the DEA arrive at a registered location unannounced and an authorized person is not present, the DEA
representatives will promptly attempt to notify an authorized person of their intent to inspect the location, and
the authorized person will make every reasonable effort to ensure that DEA representatives are able to inspect
the location promptly. 21 C.F.R. § 1316.08. DEA will not conduct administrative inspections during CEC-
authorized religious ceremonies. DEA acknowledges that the registered locations where CEC handles
ayahuasca are not businesses with regular business hours, and, accordingly, that it might be necessary to
make arrangements before the inspection to ensure that an authorized person, as defined by paragraph 7
of this Agreement, is available at the time the DEA seeks to conduct an inspection. If DEA personnel
arrive at a registered location unannounced and an authorized person is not present, the DEA
representatives will promptly attempt to notify an authorized person of their intent to inspect the location,
and the authorized person will make every reasonable effort to ensure that DEA personnel are able to
inspect the location promptly. DEA personnel may only enter a registered location to conduct an
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administrative inspection pursuant to 21 C.F.R. § 1316.03 when an authorized person is present at the
location.

57.     CEC will provide the local DEA Field Office with general information about the locations and
dates of their ceremonies. CEC will notify DEA in writing of any significant changes to this information.

58.    During administrative inspections, DEA personnel may take a physical inventory of all ayahuasca
on the premises. CEC’s authorized individuals at each location will assist in the physical inventory by
handling the containers of ayahuasca so that their labels can be read by DEA personnel without the need
for DEA personnel physically to touch the containers.

59.     If DEA seeks to inspect an item or items as described in 21 C.F.R.§ 1316.03(f) and, and if CEC
objects on any basis, then CEC may package the item or items in a container in the presence of DEA
personnel; DEA personnel will affix a seal to the container. DEA may then submit an application for an
administrative inspection warrant to a United States District Judge or Magistrate Judge as described in 21
C.F.R. § 1316.09. CEC agrees that the seal will remain unbroken and that the container will not be opened
until a determination is made by a court of competent jurisdiction whether the item(s) can lawfully be
inspected by DEA.

     H. Record Keeping

60.    CEC will be responsible for all record keeping related to its inventory of ayahuasca in any
authorized form. CEC’s registered location shall establish and maintain on a current basis a complete and
accurate written record of its importation, receipt, manufacture, distribution, and disposal of ayahuasca in
accordance with 21 C.F.R. § 1304.21 et seq. Once a registration has been granted, in addition to an initial
physical inventory, each CEC’s registered location shall take a physical inventory of all ayahuasca at least
once every two years.

61.    CEC shall maintain separate inventory records of all ayahuasca for a minimum of two years. Each
inventory will be a physical count of all ayahuasca on hand on the date the inventory is taken, and CEC
will maintain the inventory in readily retrievable form at the registered location. Each inventory will
include all information listed in 21 C.F.R. § 1304.11.

62.   All distribution of ayahuasca from a DEA registration to another DEA registration, shall be
documented on a DEA Form 222, Official Order Form, as described in 21 C.F.R. § 1305.

63.      CEC shall assign a unique identifier to each batch and container of ayahuasca that is received
through international shipment. The DEA import permit number shall also appear on each container. Each
container being imported into the U.S. shall bear a sufficiently prominent label with clear and sufficiently
large symbols to enable DEA personnel to read from arm’s-length distance the DEA permit number, point
of origin (city, state/province, and country), batch identifier, end location, quantity, and date shipped. To
facilitate maintenance of a chain of custody, the unique identifier shall follow the imported ayahuasca and
shall be used in CEC’s records until its ultimate use or disposal and shall also appear on any container
into which imported ayahuasca from a particular batch or consignment may be decanted or repackaged.

64.     CEC shall maintain records of their distribution of ayahuasca, listing the date distributed; general
location; the number of participants in the religious ceremony or event who received ayahuasca; the total
amount of ayahuasca consumed during the ceremony or event; and the dispenser’s initials. These records
will also identify the batch(es) and container(s) from which the consumed ayahuasca is taken. See 21
C.F.R. § 1304.24(a).

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65.   All required records shall be in readily retrievable form and available for inspection upon request
by DEA for a minimum of two years. See 21 C.F.R. §§ 1304.04, 1304.11, 1304.21-1304.22, 1305.

     I. Security

66.     CEC acknowledges its obligation to provide effective controls and procedures to guard against
theft and diversion. CEC will store the ayahuasca at CEC’s registered address. The residence is equipped
with a door with a deadbolt lock. The ayahuasca will be secured inside a locked refrigerator. CEC
ayahuasqueros will be the only ones with access to the storage area. Plaintiffs will maintain at the current
CEC central import and storage location a 24-hour alarm system through which a report of any
unauthorized access to the location will be immediately transmitted to a protection company with a duty
to respond or to the appropriate local law enforcement agency. Defendants acknowledge that CEC is not
required to install and maintain such alarm systems at its other non-registered locations.

67.    CEC shall designate in writing any authorized individual(s) who will have access to the ayahuasca
at each registered location. CEC shall provide written notification of the names (including aliases and
maiden names, where applicable), last four digits of their social security numbers and dates of birth of
each authorized individual to the DEA Point of Contact, and to the local DEA Diversion Program
Manager.

68.    DEA may conduct appropriate inquiries to ascertain whether an authorized individual has been
convicted of a felony relating to controlled substances. If DEA discovers that an authorized individual has
been convicted of such a felony, DEA will promptly so advise the CEC Point of Contact. The parties will
discuss whether, based on all the facts and circumstances of the particular case, in light of CEC’s religious
concerns and DEA’s security concerns, the authorized individual should have access to or custody of the
locked safe(s) or refrigerator(s) used solely for the purpose of storing ayahuasca, or be permitted to handle
ayahuasca outside the context of religious ceremonies.

69.     Whenever anyone, other than an authorized individual, or an authorized official or agent of the
U.S. government, is present in the room in which ayahuasca is stored at a registered location, that person
shall be accompanied at all times by an authorized individual.

70.     DEA will conduct a preregistration inspection of any location at which a DEA registration is
sought. In evaluating the overall security system and the needs of each registrant, DEA will consider the
factors enumerated under 21 C.F.R. § 1301.71(b) to safeguard properly the ayahuasca under the control
of each registrant. The local DEA Field Office and CEC’s representative at each location within the field
office’s jurisdiction will engage in discussions to attempt to arrive at a mutually agreeable security plan
based on the security needs of each specific location and commensurate with the quantity stored.

71.    DEA agrees to enforce only the specific physical security measures described in 21 C.F.R.
§ 1301.72(a) and (d) as set forth in this Agreement. CEC will maintain, at CEC’s expense, at the registered
storage location the security system specified in paragraph 66 of this Agreement. In the event it becomes
necessary to modify the security settings to ensure effective controls, CEC shall notify the local DEA
Field Office. Any modification in the storage area that has not been approved by the Administration, shall
not necessarily be deemed to comply substantially with the standards set forth in §§ 1301.72 and 1301.73.

72.     CEC agrees to transport manufactured ayahuasca tea to the ceremonial place for the purpose of
religious exercise in a secured lockbox out of plain view in a locked vehicle. For security during any
incidental transport, CEC ayahuasqueros agree to keep the ayahuasca in a lockbox and will not leave it
unsupervised. CEC will not designate anyone other than an authorized person to transport ayahuasca.

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CEC will not be required to install and maintain physical security measures described in 21 C.F.R.
§ 1301.72 (a) through (d) at incidental locations (i.e., ceremonial places) that do not store the controlled
substance(s), but CEC shall maintain adequate controls at incidental location(s) to prevent diversion as set
forth in this Agreement.

73.     When importing ayahuasca paste or liquid, CEC is responsible for selecting couriers or contract
carriers that provide adequate security to guard against in-transit loss, as described in 21 C.F.R.
§ 1301.74(e).

74.     CEC will immediately advise the local DEA Field Office of any diversion, theft, or significant loss
of ayahuasca, including in-transit losses by their agent or the common or contract carrier after a shipment
has been released by CBP at the port of entry. Written notification must be made within one business day
of discovery of the diversion, theft, or loss. A completed and accurate DEA Form 106, Report of Theft or
Loss of Controlled Substances, shall also be filed through the DEA Diversion Control Division secure
network application within 45 calendar days after discovery of the theft or loss. See 21 C.F.R. 1301.74(c).
In the event there is any diversion, theft, or significant loss of ayahuasca from a registered location, DEA
will discuss with CEC what, if any, additional security measures are reasonably necessary to prevent future
theft.

      J. Disposal

75.   CEC acknowledges that any transported ayahuasca sacrament will be entirely consumed on
ceremonial premises, disposed of, or returned to storage.

76.     When CEC determines that it is necessary to make final disposition of ayahuasca, the registrant
shall advise the Special Agent in Charge (“SAC”) of the area by submitting a DEA Form 41, listing the
amount to be disposed of, identifying the batch and container from which it was taken, stating the date,
time, and place at which CEC proposes to dispose of the Ayahuasca, and identifying the individuals who
will take part in the ayahuasca disposal.

77.     The SAC and/or designee shall have the discretionary authority to observe the disposal of
ayahuasca. Nothing herein should be construed as DEA approving or endorsing the disposal method
selected by CEC. Nothing in this Agreement shall require CEC to dispose ayahuasca in a manner that
violates the religious tenets of CEC, provided that CEC accepts sole responsibility for compliance with
all applicable federal, state, and local laws, implicated by the disposal of ayahuasca.

IV.    POINTS OF CONTACT

78.   Direct written communications to DEA’s headquarters elements who are referred to in this
Agreement should be directed to the email (preferred) and postal addresses below:

   DEA Point of Contact            Email Address                       Postal Address

 Regulatory Section                DRG@dea.gov            Drug Enforcement Administration Regulatory
                                                          Section/DRG
                                                          Attention: RFRA
                                                          8701 Morrissette Drive
                                                          Springfield, VA 22152


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 Import/Export Section             ODGI@dea.gov           Drug Enforcement Administration
                                                          Regulatory Section
                                                          Attention: Import/Export (DRI)
                                                          8701 Morrissette Drive
                                                          Springfield, VA 22152

 Registration and Program         DRRO@dea.gov            Drug Enforcement Administration
 Support Section                                          Registration Section
                                                          Attention: RFRA
                                                          8701 Morrissette Drive
                                                          Springfield, VA 22152
 DEA Local Field Office        Phoenixdiversiongroup      DEA Phoenix Divisional Office
                                     @dea.gov             Attn: Diversion Group
                                                          3439 East University Drive
                                                          Phoenix, Arizona 85034




V.     NON-LIABILITY OF THE U.S. GOVERNMENT

79.     The United States assumes no liability with respect to third party claims arising out of the
performance of any religious practices by CEC, including but not limited to the quantity or quality of any
sacrament distributed and ingested. The sole remedy for damages by third parties will be against CEC and
not the United States.

VI.    DURATION, AMENDMENT, AND EFFECT

80.     Execution: This Agreement may be executed in counterparts, each of which constitutes an original,
and all of which constitute one and the same agreement. Copies or facsimiles of signatures will constitute
acceptable, binding signatures for purposes of this Agreement. This Agreement is effective and becomes
binding upon the date of the last signature below. Each person who signs this Agreement in a
representative capacity warrants that he or she is fully authorized to do so. The government signatories
represent that they are signing this Agreement in their official capacities.

81.     Automatic Renewal: This Agreement is effective for a one-year initial term from its effective date,
subject to automatic renewal for additional one-year terms upon DEA’s approval of CEC’s application
for renewal of its import registration and manufacture registration of DMT unless, on or before 60 days
before the expiration of the current term, either party provides written email notice of its intention not to
renew. The DEA may not refuse to renew for any reason other than upon a showing of diversion by CEC
or upon a showing of a particularized risk to public health and safety. In accordance with 21 C.F.R.
§ 1301.13(e)(3), DEA will send CEC a renewal notification via email approximately 60 calendar days
prior to their registration expiration date.

If, at the time the initial term or a renewal is set to expire, CEC has submitted a renewal application that
is still being processed by the DEA at the end of a one-year term, CEC is allowed to continue to operate
on a day-by-day basis until the registration is renewed in accordance with 21 C.F.R. § 1301.36(i), and the
term set to expire will be automatically extended until the registration is renewed.


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82.      Severability: If any one or more of the provisions contained herein shall, for any reason, be held
to be invalid, illegal, or unenforceable in any respect, such invalidity, illegality, or unenforceability shall
not affect any other provision of this Agreement, but this Agreement shall be construed as if such invalid,
illegal, or unenforceable provision had never been contained herein.

83.     Modification: This Agreement constitutes the full and complete Agreement between the Parties.
No other promises or agreements will be binding unless placed in writing and signed by both parties to
the Agreement. All material representations, understandings, and promises of the parties are contained in
this Agreement, and each of the parties expressly agrees and acknowledges that, other than those
statements expressly set forth in this Agreement, it is not relying on any statement, whether oral or written,
of any person or entity with respect to its entry into this Agreement. Subject to the terms of this Agreement,
this Agreement may be revised at any time with, and only with, the mutual written consent of the parties.
Modifications to the Agreement will become effective on the date of the last signature of the authorized
representatives of each party.

VII.   ADDITIONAL TERMS AND CONDITIONS

84.    Compliance with State and Local Laws: Any importation, manufacturing, distribution,
transportation, or disposal, must be lawful in the state and locality where such action takes place. Such
action also must follow all applicable state and local laws, statutes, and regulations, and be otherwise
permitted by all applicable state and local regulatory and law enforcement agencies.

85.    Good Faith: The terms and provisions of this Agreement shall be executed in good faith.

86.    Venue & Jurisdiction: The parties agree that any dispute arising between and among the parties to
this Agreement shall be resolved pursuant to the dispute resolution procedures specified in Article IX of
this Agreement. If such procedures do not resolve the dispute, the Parties agree that jurisdiction is retained
by and venue is proper in the United States District Court for the District of Arizona for its resolution.

87.   Nothing in this Agreement shall be construed to prevent Defendants from taking actions or issuing
rulemakings authorized by U.S. law (including the Administrative Procedure Act).

VIII. ATTORNEYS’ FEES

88.     Once this Settlement Agreement is signed by the Parties, the Parties will file a Notice of Settlement
with the Court. After filing the Notice of Settlement, the parties have 60 days to negotiate attorneys’ fees
and costs. If, after 60 days, the Parties have not come to an agreement on attorneys’ fees and costs, that
issue will be submitted to the Court on a motion by Plaintiffs. Should such a Motion be necessary, nothing
in this Agreement shall preclude either party from attaching this Settlement Agreement to the Motion.

89.    Neither this Agreement nor the payment of attorneys’ fees, costs, and expenses hereunder is an
admission by Defendants of the truth of any allegation or the validity of any claim asserted in this action,
or of Defendants’ liability therein. The provision of attorneys’ fees, expenses, and costs in this Settlement
Agreement is by the agreement of the parties and is not intended to serve as precedent, nor may it be cited
as such, in this or any case.

90.    Compliance with all applicable federal, state, and local tax requirements shall be the sole
responsibility of Plaintiffs and their attorneys, contractors, or experts.



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IX.    RESOLUTION OF DISPUTES ARISING OUT OF THIS AGREEMENT

91.    Subject to paragraph 25 of this Agreement and the Religious Freedom Restoration Act, disputes
between the Parties concerning any alleged breach of this Agreement shall be subject to the following
dispute resolution procedures.

           a. The Parties shall make good faith efforts to resolve informally any alleged breach of this
              Agreement. If informal efforts to resolve the alleged breach are unsuccessful, the aggrieved
              Party shall provide written notice of the alleged breach and that Party’s intent, if any, to
              initiate the dispute resolution procedure of this Agreement. The notice shall include a
              recitation of the material facts and circumstances giving rise to the dispute, including the
              particular provisions of the Agreement alleged to have been breached.

           b. If the dispute is not resolved by the Parties within thirty (30) days after such notice is given,
              such dispute shall be submitted to mediation before a mutually agreed-upon neutral
              mediator. The Parties shall each bear their own costs and attorneys’ fees incurred in
              connection with such mediation.

           c. If the dispute is not resolved by the Parties through mediation, either Party may apply to
              the U.S. District Court for relief, which shall retain jurisdiction solely for this purpose.

X.     RELEASE, DISCHARGE, AND DISMISSAL OF PLAINTIFFS’ CLAIMS

92.      Upon the execution of this Settlement Agreement, and receipt of the agreed upon payment
described in paragraph 88, Plaintiffs hereby release and forever discharge Defendants and their successors,
the United States of America, and any department, agency, or establishment of the United States, and any
officers, employees, agents, successors, or assigns of such department, agency, or establishment, from any
and all past or present claims for attorneys’ fees, costs, or litigation expenses in connection with this
litigation.

93.     This Agreement contains the entire agreement between the parties hereto, and Plaintiffs
acknowledge that no promise or representation not contained in this Agreement has been made to them,
and further acknowledge that this Agreement contains the entire understanding between the parties, and
it contains all terms and conditions pertaining to the compromise and settlement of the disputes referenced
herein.

94.    Within fifteen (15) days of the receipt of the payment described in paragraph 88, Plaintiffs shall
dismiss this case with prejudice pursuant to Fed. R. Civ. P. 41(a) by filing a Stipulation of Dismissal with
Prejudice.

95.    The undersigned represent that they are fully authorized to enter into this Agreement.




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Date: April 12, 2024
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